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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION



 UNITED STATES OF AMERICA

         v.

 GREGG SMITH,                                      Case No. 19-cr-00669
 MICHAEL NOWAK,
                                                   Hon. Edmond E. Chang
 JEFFREY RUFFO, and
 CHRISTOPHER JORDAN,

                       Defendants.



        DECLARATION OF JAMES J. BENJAMIN, JR. IN SUPPORT OF
  DEFENDANTS’ MOTION IN LIMINE FOR A CAUTIONARY INSTRUCTION THAT
          COMPLIANCE POLICIES ARE DIFFERENT FROM LAW

       I, James J. Benjamin, Jr., counsel for Defendant Christopher Jordan, hereby declare and

state as follows:

   1. I respectfully submit this Declaration in support of Defendants’ Motion In Limine For A

       Cautionary Instruction That Compliance Policies Are Different From Law.

   2. Attached hereto as Exhibit A is an excerpt of a true and correct copy of the testimony of

       Armand Nakkab before the Federal Grand Jury on August 22, 2019 (DOJ-0019999626).

   3. Attached hereto as Exhibit B is a true and correct copy of an FBI Form FD-302 dated

       September 3, 2019, relating to the interview of David King on July 23, 2019 (DOJ-

       0017117474).




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I declare under penalty of perjury that, to the best of my knowledge, the foregoing statements are

true and correct.

Dated: July 9, 2021                                  /s/ James J. Benjamin, Jr.
       New York, New York                            James J. Benjamin, Jr.
                                                     AKIN GUMP STRAUSS HAUER & FELD
                                                     LLP
                                                     One Bryant Park
                                                     New York, New York 10036
                                                     (212) 872-1000

                                                    Counsel for Christopher Jordan




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